Court of Appeals
of the State of Georgia

                                                              ATLANTA, August 06, 2015

The Court of Appeals hereby passes the following order

A15D0498. GOD’S HOPE BUILDERS, INC. v. MOUNT ZION BAPTIST CHURCH OF
    OXFORD, GEORGIA, INC. et al..


     Upon consideration of the Application for Discretionary Appeal, it is ordered that it be

hereby DENIED.


LC NUMBERS:

20103549




                                      Court of Appeals of the State of Georgia
                                           Clerk's Office, Atlanta, August 06, 2015.

                                           I certify that the above is a true extract from the minutes of
                                      the Court of Appeals of Georgia.

                                           Witness my signature and the seal of said court hereto
                                      affixed the day and year last above written.

                                                                         , Clerk.
